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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                      CASE NO.: 21-CR-129
        Plaintiff,
vs.

Gabriel Garcia,

        Defendant.
                                              /

      DEFENDANT’S MOTION FOR PERMISSION TO TRAVEL OUT OF THE STATE

        COMES NOW, the Defendant, Gabriel Garcia, and files his Motion for Permission to

Travel Out of the State, and states the following grounds:

                                         FACTUAL GROUNDS

            1. Mr. Garcia respectfully requests to travel to Rogersville, Missouri for an event

from July 1, 2022-July 3, 2022. The event is a Christian/spiritual retreat in support of January 6

defendants and their families (Counsel will provide a flyer and web-link about the event under

seal or privately to chambers). Mr. Garcia would travel from Miami by plane on July 1 and

return by plane on July 3.

            2. Mr. Garcia will provide his Pretrial Officer all of the information

regarding his travel and lodging, as he has done the previous times when he has traveled with

this Court’s permission.

            3. Counsel contacted AUSA A. Buckner for the Government’s and Pretrial’s

positions. She stated the Government does not oppose this motion. Pretrial defers to the Court.

                                  MEMORANDUM OF LAW

        This Court can grant Mr. Garcia’s request under 18 U.S.C. § 3142. Specifically, Mr.

Garcia requests permission to travel to, and attend, a 3-day retreat/event in Rogersville, traveling
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by air from Miami on July 1 and returning by same on July 3. His lodging will also be in

Rogersville, and he will provide a detailed itinerary of his lodging, travel information, and all

other information Pretrial Services requires.

       WHEREFORE, Mr. Garcia respectfully moves this District Court to allow him to travel

to Rogersville, Missouri as detailed above.

       Respectfully submitted,

       /s/Aubrey Webb
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       Coral Gables, Florida 33134
       305-461-1116
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       /s/Charles R. Haskell
       Law Offices of Charles R. Haskell
       641 Indiana Ave. N.W.,
       Washington D.C. 20004
       202-888-2728
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                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was efiled to the
Office of the Clerk, United States District Court, District of Columbia,
333 Constitution Ave., N.W. Washington D.C. 20001, Room 1225 and to the Office of the
United States Attorney, 555 4th St N.W., Washington D.C. 20530, on June 17, 2022.

       /s/Aubrey Webb




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